  Case 2:18-ml-02814-AB-PVC Document 141 Filed 11/06/18 Page 1 of 2 Page ID #:3475

  Name and addres.s:
  Jacob   Cutler (SBN 264988)
 STRATEGIC LEGAL PRACTICES, APC
 I 840 Century Park East, Ste. 430
 Los Angeles, CA90067
 E-mail: jcutler@slpattorney.com
 Telephone: (3 l0) 929 - 4900
  Facsimile: (3 l0) 943-3838



                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
IN RE: FORD MOTOR CO. DPS6 POWERSHIFT                              CASENUMBER:
TRANSMISSION PRODUCTS LIABILITY LITIGATION                                         2:18-ML-028 I 4 AB (FFMx)
                                                    PLAINTIFF(S)
                                 u.

                                                                                 NOTICE OF APPEARANCE OR
                                                                                 WITHDRAWAL OF COUNSEL
                                                  DEFENDANT(S)

                                                        INSTRUCTIONS
Appearance of Counsel:

Attorneys may use this form to enter an appearance in a case, or to update the docket of a case to reflect a prior
appearance. To do so, complete Sections I, II, and IV of this form, then file and serve the form in the case. (Using an
attorney's CM/ECF login and password to file this form will expedite the addition of that attorney to the docket as counsel
of record.)

Withdrawal of Counsel:
This form may be used to terminate an attorney's status as counsel of record for a party in three situations: (1) the
attorney being terminated has already been relieved by the Court, but the docket does not yet reflect that fact; (2) at least
one member of the attorney's firm or agency will continue to represent that party and the withdrawing attorney is not the
only member of the Bar of this Court representing that party; or (3) the represented party has been dismissed from the
case, but the attorneys are still receiving notices of electronic filing. For any of these situations, complete Sections I, III,
and IV of this form, then file and serve the form in the case.

 Note: In situations not covered above, attorneys seeking to withdraw from a case must first obtain permission from the
 Court. In such circumstances, attorneys should comPlete and file a "Request for Approval of Substitution or Withdrawal of
 Counsel" (Form G-01) rather than this "Notice of Appearance or Withdrawal of Counsel" (Form G-123). See Form G-01 for
further information.
SECTION I - IDENTIFYING INFORMATION
Please complete the    following information for the attorney you wish to add or remove (if removing an attorney, provide the
information as    it currently appears on the docket; if appearing pro hac vice, enter "PHV" in the field for "CA Bar Number"):

Name: Jacob      Cutler                                                              CA Bar Number: 264988

Firm or agency: Strategic Legal Practices, APC
Address: 1840 Century Park East,      Ste. 430, Los Angeles, CA90067

Telephone      Number: (310) 929-4900                                 Fax   Number:   (310) 943-3838

Email: icutler@slpattorney.com
Counsel of record for the following party or parties: Plaintiffs




G-t23 (91t7)                           NOTICE OF APPEARANCE OR WITHDRAWAL OF COUNSEL                                    Page   I of2
    Case 2:18-ml-02814-AB-PVC Document 141 Filed 11/06/18 Page 2 of 2 Page ID #:3476


SECTION        II - TO ADD AN ATTORNEY TO THE DOCKET
Please select one of the      following options:
I      The attorney listed above has already appeared as counsel ofrecord in this case and should have been added to the
       docket. The date ofthe attorney's first appearance in this case:

tr     The filing of this form constitutes the first appearance in this case of the attorney listed above. Other members of
       this attorney's firm or agency have previously appeared in the case.

I       The filing of this form constitutes the first appearance in this case of the attorney listed above. No other members
        ofthis attorney's firm or agency have previously appeared in the case.

tr      By order ofthe court dated                             in case number                                 (see attached
        copy), the attorney listed above may appear in this case without applying for admission to practice pro hac vice.

f]      This case was transferred to this district by the Judicial Panel on Multidistrict Litigation ("JPML") pursuant to 28
        U.S.C. 5 L407 from the                                Districtof-,whereitwasassignedcasenumber
                                    The attorney listed above is counsel ofrecord in this case in the transferee district, and is
        permitted by the rules of the JPML to continue to represent his or her client in this district without applying for
        admission to practice p ro hac vice and without the appointment of local counsel.
f]
U       On _,                          the attorney listed above was granted permission to appear in this case pro hac vice
        before the Bankruptcy Court, and L.Bankr.R. B authorizes the continuation of that representation in this case before
        the District Court.

In addition, if this   is a   criminal   case, please check the   applicable box below. The attorney listed above is:

        I      USAO    n      FPDO       I    CIA Appointment      I   Pro Bono    f     Retained


SECTION        III   - TO REMOVE AN ATTORNEY FROM THE DOCKET

Notices of Electronic Filing        will     be terminated. Please select one of the   following options:

n       The attorney named above has already been relieved by the Court as counsel of record in this case and should
        have been removed from the docket. Date of the order relieving this attorney:

        Please remove the attorney named above                          case; at least one member of the firm or agency
                                                             from the docket of this
I
        named above, and at least one member of the Bar of this Court, will continue to serve as counsel of record for the
        party or parties indicated.
        (Note: ifyouareremovingyourselffromthedocketofthiscaseasaresultof             separatingfromafirmoragency,you
        should consult Local Rules  5-4.8.1 and 83-2.4 and Form  G-06  ("Notice of Change of Attorney Business or Contact
        Information"), concerning your obligations to notifu the Clerk and parties of changes in your business or contact
        information.)

 I      The represented party has been dismissed from the case, but the attorneys are still receiving notices of electronic
        filing. Date party was dismissed:

I       The attorney named above was appointed on appeal and the appeal has been adjudicated. Date the mandate was
        filed:


SECTION        IV    - SIGNATURE

I request that the Clerk update the docket as indicated above


      Date:     Novernber 6, 2018                                Signature:    /s/: Jacob Cutler

                                                                 Name:        Jacob Cutler


G-t23 (9117)                                     NOTICE OF APPEARANCE OR WITHDRAWAL OF COI.INSEL                          Page 2   of2
